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                                                                                                 2016 Oct-05 AM 10:31
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA




                 IN THE UNITED STATES DISTRICT COURT FOR
                    THE NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION



CHARLES J. SCHAFER,                           )
Individually and as member of                 )
314 CHARLESTON BLVD, LLC;                     )
                                              )
                      Plaintiff,              )
                                              )
               vs.                            )
                                              )
DENNIS CROSBY;                                )
                                              )
                      Defendant.              )


                                          COMPLAINT

       COMES NOW Charles J. Schafer, individually and as managing member of 314

Charleston Blvd, LLC, by and through his undersigned attorney, and would allege and show unto

this Honorable Court as follows:

                               PARTIES AND JURISDICTION

       1.      Charles J. Schafer (hereinafter referred to as “Schafer”), is a citizen of the State of

New York.

       2.      Dennis Crosby (hereinafter referred to as “Crosby”), is a citizen of the County of

Jefferson, Alabama.

       3.      314 Charleston Blvd, LLC is a limited liability company organized and existing

pursuant to the laws of the State of South Carolina and doing business in South Carolina, and the

ownership of the LLC is comprised solely of 3 individual members, including Schafer and Crosby.
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       4.      Schafer is a citizen of New York; Crosby is a citizen of Alabama; 314 Charleston

Blvd, LLC has its principal place of business in South Carolina. The amount in controversy,

exclusive of interests and costs, exceeds the sum or value specified in 28 U.S.C. §1332.

                                                FACTS

       5.      On the 3rd day of April, 2005, 314 Charleston Blvd, LLC was organized under the

laws of the State of South Carolina pursuant to the provisions of the South Carolina Uniform

Limited Liability Company Act of 1996.

       6.      Schafer holds 16.65 % membership interest in 314 Charleston Blvd, LLC; and,

Crosby holds 16.65 % membership interest in 314 Charleston Blvd, LLC.

       7.      Schafer is the managing member of 314 Charleston Blvd, LLC, and was at all times

pertinent to this cause of actions, its managing member.

       8.      314 Charleston Blvd, LLC was formed for the purpose of building a house at 314

Charleston Boulevard, Isle of Palms, South Carolina.

       9.      314 Charleston Blvd, LLC held an account at Wachovia Bank, which is now doing

business as Wells Fargo Bank.

       10.     Schafer made numerous deposits into the aforementioned bank account from funds

received on rentals of property held by 314 Charleston Blvd, LLC.

       11.     After Wells Fargo assumed control over Wachovia Bank, Schafer, without notice,

was told by a Wells Fargo employee that Schafer was no longer allowed access to the financial

accounts of 314 Charleston, Blvd., LLC.

       12.     At the time Schafer was denied further access to the 314 Charleston Blvd, LLC

account, upon information and belief, the account contained no less than $217,000.00. In
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addition, Crosby and Schafer entered into a settlement agreement with the Estate of a former

member of 314 Charleston Blvd., LLC, and received a settlement of $50,000.00. Schafer was

advised by Crosby that those funds were placed into a separate financial account.

       13.     On April 28, 2014, Schafer, by and through his attorney, made a demand on Crosby

for an accounting of all funds and expenditures of 314 Charleston Blvd, LLC.

       14.     On April 7, 2016, Schafer, by and through his attorney, made another demand on

Crosby for an accounting of all funds and expenditures of 314 Charleston Blvd., LLC.

       15.     Crosby has not provided said accounting to Schafer as of the time of filing.

       16.     Schafer is entitled to an accounting and at least one-half of the funds contained in

the 314 Charleston Blvd, LLC accounts.

       17.     Crosby has denied Schafer access to the books for 314 Charleston Blvd, LLC and

their respective accounts and has failed to account for any transactions all in derogation of the right

of Schafer.

       18.     Schafer made loans and advances to 314 Charleston Blvd., LLC, which have not

been fully repaid.


                              FOR A FIRST CAUSE OF ACTION
                                       (Accounting)

       19.     Schafer realleges the allegations of the proceedings paragraphs as through fully

restated herein.

       20.     Upon information and belief, the assets and the funds of 314 Charleston Blvd, LLC

have been and are being misappropriated by Crosby who is actively siphoning off 314 Charleston

Blvd., LLC funds for his own use.
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       21.     Upon information and belief, the assets and funds of 314 Charleston Blvd, LLC are

not being used in a manner designed to benefit 314 Charleston Blvd, LLC, but solely and

exclusively for the benefit of Crosby.

       22.     As a Member of 314 Charleston Blvd, LLC, Schafer is entitled access to the books,

financial statements, bank accounts, and other information related to the assets and liabilities of

314 Charleston Blvd, LLC.

       23.     Crosby has prevented Schafer from accessing 314 Charleston Blvd, LLC’s

financial records.

       24.     Schafer has made demand upon Crosby for an accounting, but has not been

successful.

       25.     Pursuant to the provisions of S.C. Code § 33-16-104, Schafer is entitled to an

account and to production by Crosby of the books, financial statements, invoices, and other

information related to the assets and liabilities of 314 Charleston Blvd, LLC.


                               FOR A SECOND CAUSE OF ACTION
                                    (Breach of Fiduciary Duty)

       26.     Schafer realleges the allegations of the preceding paragraphs as though fully

restated herein.

       27.     Pursuant to S.C. Code Ann. § 33-8-420 and § 33-8-300, Crosby, as a member of

314 Charleston Blvd, LLC, owes a fiduciary duty to 314 Charleston Blvd, LLC and to Schafer as a

member of each.

       28.     Crosby has breached his fiduciary duty in numerous respects, including, but not

limited to the following:
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                     a.      Failing to honor mutually agreed upon compensation
               agreement between Schafer and 314 Charleston Blvd, LLC;

                      b.     Failing to keep and maintain adequate business
               records on behalf of 314 Charleston Blvd, LLC, including receipts
               and expenditures made by and on behalf of 314 Charleston Blvd,
               LLC;

                      c.     Mismanaging the property and assets of 314
               Charleston Blvd, LLC;

                      d.     Converting assets of 314 Charleston Blvd, LLC for
               personal use;

                      e.     In other particulars that will be shown through
               discovery and/or trial of this matter.

       29.     Schafer has been damaged by Crosby’s breach of fiduciary duties, and is entitled to

damages in an amount to be determined by the trier of fact, and to an award of punitive damages

sufficient to deter Crosby from engaging in such acts in the future.


                                 FOR A THIRD CAUSE OF ACTION
                                          (Conversion)

       30.     Schafer realleges the allegations of the preceding paragraphs as though fully

restated herein.

       31.     The funds existing in the accounts of 314 Charleston Blvd, LLC are for the sole

purpose of furthering the interest of 314 Charleston Blvd, LLC.

       32.     Schafer as a 16.65 % member of 314 Charleston Blvd, LLC, has an interest in the

LLC’s finances expended by Crosby.

       33.     Crosby misappropriated 314 Charleston Blvd, LLC assets by moving LLC assets to

accounts in which Schafer is unable to access and without Schafer’s knowledge.

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       34.     The use of these LLC assets by Crosby was without Schafer’s permission and was

in derogation of Schafer’s rights in the funds.

       35.     Crosby is liable to Schafer for conversion, in an amount as yet unknown, but to be

determined by the trier of fact following a full accounting, and for an award of punitive damages

sufficient to deter Crosby from engaging in such activity in the future.



                                        PRAYER FOR RELIEF

       WHEREFORE, Schafer prays for a jury trial in this matter; that the Court inquire into the

matter set forth above, and enter judgment dissolving 314 Charleston Blvd, LLC, and liquidating

its assets, for an accounting of the books and financial record of 314 Charleston Blvd, LLC, an

award of compensatory damages in an amount to be determined by the trier of fact and sufficient to

compensate Schafer for his losses incurred as a direct and proximate result of Crosby’s breaches of

fiduciary duty, for any and all membership distributions and salary that were wrongfully withheld,

and for punitive damages in an amount sufficient to deter commission of the same or similar acts in

the future; and an award of compensatory damages in an amount to be determined by the trier of

fact and sufficient to compensate Schafer for his losses incurred as a direct and proximate result of

the wrongful acts of conversion and self-dealing committed by Crosby, and for punitive damages

in an amount sufficient to deter commission of the same or similar acts in the future. Schafer also

prays for an award of attorney’s fees and costs (as same is allowed by South Carolina law)

sustained by Schafer in this matter, and for any other legal and equitable relief allowed by law that

this Court deems just, prudent, and proper.



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                                  /s/ Carl E. Chamblee, Jr.
                                  CARL E. CHAMBLEE, JR. (ASB-7777-C28C)
                                  ATTORNEY FOR PLAINTIFF, CHARLES J.
                                  SCHAFER

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                           REQUEST FOR JURY TRIAL

      Plaintiff request trial by jury on all issues that are triable by jury.

                                  /s/ Carl E. Chamblee, Jr.
                                  CARL E. CHAMBLEE, JR. (ASB-7777-C28C)
                                  ATTORNEY FOR PLAINTIFF, CHARLES J.
                                  SCHAFER


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